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 1                                                                    HONORABLE THOMAS S. ZILLY

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 7
                                   UNITED STATES DISTRICT COURT
 8                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
 9
     HUNTERS CAPITAL, LLC, et al.,
10                                                       Case No. 20-cv-00983
                             Plaintiffs,
11                                                       DECLARATION OF SHANE P. CRAMER
                 v.                                      IN SUPPORT OF MOTION FOR
12                                                       SPOLIATION SANCTIONS AGAINST
     CITY OF SEATTLE,                                    PLAINTIFFS HUNTERS CAPITAL;
13                                                       RICHMARK LABEL; MATTHEW
                             Defendant.                  PLOSZAJ; CAR TENDER; BERGMAN’S
14                                                       LOCK & KEY; WADE BILLER; AND
                                                         ONYX HOMEOWNERS ASSOCIATION
15

16
            I, Shane P. Cramer, declare as follows:
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            1.        I am one of the attorneys representing the City of Seattle in this action. I am over
18
     age 18, competent to be a witness, and making this declaration based on facts within my own
19
     personal knowledge.
20
            2.        Attached as Exhibit 1 is a true and correct copy of excerpts from the deposition of
21
     Michael Malone, taken in this matter on August 22, 2022.
22
            3.        Attached as Exhibit 2 is a true and correct copy of an email and letter dated
23
     December 23, 2021 from plaintiffs’ counsel, Gabe Reilly-Bates, regarding Mr. Malone’s text
24
     messages.
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     DECLARATION OF SHANE P. CRAMER IN SUPPORT OF                                        LAW OFFICES
                                                                         HARRIGAN LEYH FARMER & THOMSEN LLP
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                                                                                SEATTLE, WASHINGTON 98104
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 1           4.      On March 26, 2021, I participated in a call with my former colleague, Kristin

 2   Ballinger, and counsel for Plaintiffs, including Tyler Weaver, Andrew DeCarlow, and Harold

 3   Malkin. During that call on March 26, 2021 we disclosed to Plaintiffs’ counsel for the first time

 4   that certain City employees, including Mayor Durkan, Chief Best, Fire Chief Scoggins, Idris

 5   Beauregard, Kenneth Neafcy, and Chris Fisher, no longer had their text messages from June 2020,

 6   due to various circumstances with their phones.

 7           5.      Attached as Exhibit 3 is a true and correct copy deposition exhibit number 193

 8   from the August 22, 2022 deposition of Michael Malone. The document is a spreadsheet of Jill

 9   Cronauer’s text messages that were produced in this matter. We have highlighted the rows

10   containing messages sent to or from Mr. Malone, for the Court’s reference. To make the document

11   more legible, the last three columns of the spreadsheet that did not contain substantive information

12   were deleted.

13           6.      Attached as Exhibit 4 is a true and correct copy of deposition exhibit number 194

14   from the August 22, 2022 deposition of Michael Malone The document is a spreadsheet of

15   Michael Oaksmith’s text messages that were produced in this matter. We have highlighted the

16   rows containing messages sent to or from Mr. Malone, for the Court’s reference. To make the

17   document more legible, the last three columns of the spreadsheet that did not contain substantive

18   information were deleted.

19           7.      Attached as Exhibit 5 are true and correct copies of text messages between

20   Mr. Malone and Former Seattle Mayor Jenny Durkan, using her personal phone. These documents

21   were produced in this matter by Mayor Durkan’s counsel in response to a subpoena issued by

22   Plaintiffs.

23           8.      Attached as Exhibit 6 is a true and correct copy of excerpts from the deposition of

24   Ms. Cronauer, taken in this matter on September 30, 2021.

25           9.      Attached as Exhibit 7 are true and correct copies of text messages screenshots

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 1   between the owner of Havana Hospitality Group, Inc. and Ms. Cronauer between March –

 2   September 2020, and between the owner of Havana Hospitality Group and Mr. Oaksmith on

 3   June 15, 2020. These text messages were produced in this matter by Havana Hospitality Group,

 4   Inc. in response to the City’s third-party subpoena and were Bates numbered by Plaintiffs’ counsel

 5   HAVANA-000014-15, HAVANA-000017-26, and HAVANA-000143.

 6          10.     Attached as Exhibit 8 is a true and correct copy of an email exchange dated May 1

 7   – May 8, 2020 between Zoe Rowell of The Riveter and Jill Cronauer of Hunters Capital. This

 8   document was produced in this matter by The Riveter in response to the City’s third-party

 9   subpoena and was Bates numbered by the City’s counsel for tracking purposes RIVETER_000076-

10   77.

11          11.     Attached as Exhibit 9 is a true and correct copy of an emails between members of

12   The Stable and Hunters Capital between May and July 2020. These documents were produced in

13   this matter by The Stable in response to the City’s third party subpoena and were Bates numbered

14   by The Stable’s counsel Stable_Subpoena_Response_006 – 011 and

15   Stable_Subpoena_Response_014 – 017.

16          12.     Attached as Exhibit 10 is a true and correct copy of an email exchange between the

17   owner of Poquito’s LLC and Ms. Cronauer dated September – October 2021. This document was

18   produced in this matter by Poquitos in response to the City’s third party subpoena and was Bates

19   numbered by Plaintiffs’ counsel POQUITOS-000009. This exhibit is being filed under seal.

20          13.     Attached as Exhibit 11 is a true and correct copy of a letter dated July 21, 2021

21   from Plaintiffs’ counsel, Tyler Weaver, to my former colleague, Kristin Ballinger, regarding text

22   and Signal message issues.

23          14.     Attached as Exhibit 12 is a true and correct copy of excerpts from Plaintiffs’

24   Objections, Answers and Responses to City of Seattle’s Fifth Discovery Requests dated

25   February 7, 2022.

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 1          15.       Attached as Exhibit 13 is a true and correct copy of excerpts from the deposition of

 2   Bill Donner, taken in this matter on November 16, 2021.

 3          16.       Attached as Exhibit 14 is a true and correct copy of excerpts from the deposition of

 4   Wade Biller, taken in this matter on December 10, 2021.

 5          17.       Attached as Exhibit 15 is a true and correct copy of excerpts from the deposition of

 6   Lonnie Thompson, taken in this matter on May 4, 2021.

 7          18.       Attached as Exhibit 16 is a true and correct copy of an October 11, 2016 Signal

 8   Blog detailing the “latest Signal release for iPhone, Android, and Desktop now includes support

 9   for disappearing messages”. This article was retrieved on September 28, 2022 at:

10   https://signal.org/blog/disappearing-messages/.

11          19.       Attached as Exhibit 17 is a true and correct copy of excerpts from the deposition of

12   LaRisa DeYoung, taken in this matter on September 19, 2022.

13          20.       Attached as Exhibit 18 is a true and correct copy of excerpts from the deposition of

14   John McDermott, taken in this matter on January 19, 2022.

15          21.       Attached as Exhibit 19 is a true and correct copy of excerpts from a printout of the

16   Signal data of non-party Stephanie Moore, which was produced by Plaintiffs in native Excel and

17   Bates numbered CHOP-0028732. The native Excel was sorted by “GroupName.” Pages of the

18   printout that include messages sent by plaintiffs have been excerpted and attached hereto. These

19   printouts show that the following plaintiffs and employees of plaintiffs were active on the Signal

20   messaging app as of at least the below dates:

21                •   Jill Cronauer (Hunters Capital owner and operations manager) – June 26, 2020

22                    (see Ex. 19 at p. 26.);

23                •   Kayla Stevens (Hunters Capital Residential Leasing Manager) – June 25, 2020

24                    through July 1, 2020 (see Ex. 19 at pp. 24, 25, 38);

25                •   Wade Biller (Plaintiff and Representative for Plaintiff Onyx Homeowners

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 1                    Association) – July 25, 2020 through December 21, 2020. (see Ex. 19 at pp. 117,

 2                    205). Ms. Moore’s data shows that Mr. Biller sent approximately 1,300 Signal

 3                    messages between July 25 and December 21, 2020.

 4                •   Elle Lochelt (Richmark Label’s Sales and Marketing Manager) – June 19, 2020

 5                    through August 12, 2020; (see Ex. 19 at pp. 11, 13, 16, 18, 19, 21, 23, 25- 27, 30,

 6                    35-37, 45, 47);

 7                •   Matthew Ploszaj (Plaintiff) – October 2, 2020 November 2, 2020 (see Ex. 19 at pp.

 8                    93-98, 101, 102, 109);

 9                •   John McDermott (Car Tender Co-Owner) – September 18, 2020 through

10                    November 8, 2020 (see Ex. 19 at pp. 78, 114).

11          22.       Attached as Exhibit 20 is a true and correct copy of an email exchange between

12   Bill Donner and Alan Anderson, both of Richmark Label, dated June 11, 2020. This document

13   was produced in this matter by Plaintiffs under Bates number CHOP-0005671 and was marked as

14   Exhibit 86 to the November 16, 2021 deposition of Mr. Donner.

15          23.       Attached as Exhibit 21 is a true and correct copy of an email exchange between

16   Bill Donner of Richmark Label and Gary Volchok, dated June 11-12, 2020. This document was

17   produced in this matter by Plaintiffs under Bates number CHOP-0005676 – 0005677 and was

18   marked as Exhibit 90 to the November 16, 2021 deposition of Mr. Donner.

19          24.       Attached as Exhibit 22 is a true and correct copy of an email exchange between

20   Bill Donner of Richmark Label and Doug Glant, dated June 19-20, 2020. This document was

21   produced in this matter by Plaintiffs under Bates number CHOP-0005545.

22          25.       Attached as Exhibit 23 is a true and correct copy of an email exchange between

23   Bill Donner of Richmark Label and Wendy Rosen, dated June 17, 2020. This document was

24   produced in this matter by Plaintiffs under Bates number CHOP-0005544.

25          26.       Attached as Exhibit 24 is a true and correct copy of excerpts from Plaintiffs’

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 1   Hunters Capital, LLC’s Answers and Responses to Defendant City of Seattle’s First Discovery

 2   Requests, dated January 15, 2021.

 3           27.     Attached as Exhibit 25 is a true and correct copy of excerpts from Plaintiffs’

 4   Objections, Answers and Responses to City of Seattle’s Sixth Discovery Requests, dated

 5   March 28, 2022.

 6           28.     On September 27, 2022, and at various other times in this case, counsel have met

 7   and conferred in good faith regarding the bases for the City’s spoliation claims, but were not able

 8   to reach agreement that would have obviated the need for the filing of the City’s motion. During

 9   the parties’ meet and confer on September 27, 2022, I provided Plaintiffs’ counsel with the Bates

10   numbers for the third party documents that contain their emails and texts with Jill Cronauer that

11   had not been produced by Hunters Capital. I asked Plaintiffs counsel to confirm that they had not

12   been deleted and to provide copies before September 29, 2022 if they still existed. We received no

13   such copies from Hunters Capital as of the time of the preparation of this motion for filing.

14           I swear under the penalty of perjury under the laws of the United States that the foregoing

15   is true and correct.

16           DATED this 29th day of September 2022, at Seattle, Washington.

17
                                                   s/ Shane P. Cramer
18                                                 SHANE P. CRAMER
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